54 F.3d 773NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Judge LAWSON, Petitioner,v.DOUBLE M COAL COMPANY;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 94-2628.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 21, 1995.Decided:  May 22, 1995.
    
      Judge Lawson, Petitioner Pro Se.  Harry Ashby Dickerson, PENN, STUART, ESKRIDGE &amp; JONES, Abingdon, VA;  Patricia May Nece, Sarah Marie Hurley, UNITED STATES DEPARTMENT OF LABOR, Washington, DC, for Respondents.
      Before WILLIAMS and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Petitioner seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1994).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Lawson v. Double M Coal Co., No. CA-93-1328-BLA (B.R.B. Nov. 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    